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                          UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT

                                DOCKETING STATEMENT



        Appeal Number          23-1135

          Case Name            Griffith v. El Paso County, Colorado, et al.

          Party or Parties     Appellant / Plaintiff Darlene Griffith
     Filing Notice of Appeal
            Or Petition

         Appellee(s) or        El Paso County, Colorado; Bill Elder; Cy Gillespie;
         Respondent(s)         Elizabeth O’Neal; Andrew Mustapick; Dawne Elliss;
                               Tiffany Noe; Brande Ford

  List all prior or related None
 appeals in this court with
  appropriate citation(s).


I.       JURISDICTION OVER APPEAL OR PETITION FOR REVIEW
         A.     APPEAL FROM DISTRICT COURT
                1.     Date final judgment or order to be reviewed was entered on the
                       district court docket:     March 27, 2023
                2.     Date notice of appeal was filed:     April 25, 2023
                3.     State the time limit for filing the notice of appeal (cite the specific
                       provision of Fed. R. App. P. 4 or other statutory authority): Thirty
                       (30) days pursuant to Fed.R.App.P. 4(a)(1)(A)
                       a.      Was the United States or an officer or an agency of the
                               United States a party below?      No

                       b.      Was a motion filed for an extension of time to file the notice
                               of appeal? If so, give the filing date of the motion, the date of
                               any order disposing of the motion, and the deadline for filing
                               the notice of appeal:         No
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       4.     Tolling Motions. See Fed. R. App. P. 4(a)(4)(A); 4(b)(3)(A).
              a.     Give the filing date of any motion that tolls the time to appeal
                     pursuant to Fed. R. App. P. 4(a)(4)(A) or 4(b)(3)(A):
                            N/A
              b.     Has an order been entered by the district court disposing of
                     any such motion, and, if so, when?
                            N/A
       5.     Is the order or judgment final (i.e. does it dispose of all claims by
              and against all parties)? See 28 U.S.C. § 1291.            Yes
              (If your answer to Question 5 is no, please answer the following
              questions in this section.)

              a.     If not, did the district court direct entry of judgment in
                     accordance with Fed. R. Civ. P. 54(b)? When was this done?
                            N/A
              b.     If the judgment or order is not a final disposition, is it
                     appealable under 28 U.S.C. ' 1292(a)?              N/A
              c.     If none of the above applies, what is the specific legal
                     authority for determining that the judgment or order is
                     appealable?                 N/A
       6.     Cross Appeals.
              a.     If this is a cross appeal, what relief do you seek beyond
                     preserving the judgment below? See United Fire & Cas. Co.
                     v. Boulder Plaza Residential, LLC, 633 F.3d 951, 958 (10th
                     Cir. 2011) (addressing jurisdictional validity of conditional
                     cross appeals).
                                                  N/A
              b.     If you do not seek relief beyond an alternative basis for
                     affirmance, what is the jurisdictional basis for your appeal?
                     See Breakthrough Mgt. Group, Inc. v. Chukchansi Gold
                     Casino and Resort, 629 F.3d 1173, 1196-98 and n.18 (10th
                     Cir. 2010) (discussing protective or conditional cross
                     appeals).                    N/A


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       B.    REVIEW OF AGENCY ORDER (To be completed only in connection
             with petitions for review or applications for enforcement filed directly with
             the court of appeals.)

             1.     Date of the order to be reviewed:                   N/A
             2.     Date petition for review was filed:                 N/A
             3.     Specify the statute or other authority granting the Tenth Circuit
                    Court of Appeals jurisdiction to review the order:       N/A
             4.     Specify the time limit for filing the petition (cite specific statutory
                    section or other authority):                        N/A
       C.    APPEAL OF TAX COURT DECISION

             1.     Date of entry of decision appealed:                 N/A
             2.     Date notice of appeal was filed:           N/A
                    (If notice was filed by mail, attach proof of postmark.)

             3.     State the time limit for filing notice of appeal (cite specific statutory
                    section or other authority):                N/A
             4.     Was a timely motion to vacate or revise a decision made under the
                    Tax Court’s Rules of Practice, and if so, when? See Fed. R.
                    App. P. 13(a)                             N/A

II.    ADDITIONAL INFORMATION IN CRIMINAL APPEALS.

       A.    Does this appeal involve review under 18 U.S.C. ' 3742(a) or (b) of the
             sentence imposed?                 N/A
       B.    If the answer to A (immediately above) is yes, does the defendant also
             challenge the judgment of conviction?                  N/A
       C.    Describe the sentence imposed.                     N/A


       D.    Was the sentence imposed after a plea of guilty?           N/A
       E.    If the answer to D (immediately above) is yes, did the plea agreement
             include a waiver of appeal and/or collateral challenges?       N/A
       F.    Is the defendant on probation or at liberty pending appeal?       N/A
       G.    If the defendant is incarcerated, what is the anticipated release date if the
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                  judgment of conviction is fully executed?                 N/A
           NOTE:         In the event expedited review is requested and a motion to that
                         effect is filed, the defendant shall consider whether a transcript
                         of any portion of the trial court proceedings is necessary for the
                         appeal. Necessary transcripts must be ordered by completing
                         and delivering the transcript order form to the Clerk of the
                         district court with a copy filed in the court of appeals.

III.       GIVE A BRIEF DESCRIPTION OF THE NATURE OF THE
           UNDERLYING CASE AND RESULT BELOW.

           This is a prisoner rights case brought by transgender woman Darlene Griffith, who
           after being incorrectly housed in an all-male unit in the El Paso County Criminal
           Justice Center (CJC”) filed her pro se prisoner complaint on February 8, 2021. The
           complaint was amended and after Counsel entered on her behalf a Third Amended
           Complaint was filed and became the operative complaint. The complaint alleges
           that El Paso County’s policy of housing transgender women in male units resulted
           in Plaintiff suffering repeated sexual harassment, sexual assault, and
           discrimination at the hands of jail staff and other inmates. This sexual harassment,
           sexual assault, and discrimination violated Plaintiff’s rights under the United
           States Constitution, Americans With Disabilities Act, and Rehabilitation Act.
           Defendants filed a Motion to Dismiss the Third Amended Complaint on June 28,
           2022, and in his Report and Recommendation, Magistrate Neureiter recommended
           that all 16 claims in the Complaint be dismissed. Judge Arguello entered her order
           affirming and adopting the magistrate’s recommendations entirely and final
           judgment was entered.
IV.        IDENTIFY TO THE BEST OF YOUR ABILITY AT THIS STAGE OF THE
           PROCEEDINGS, THE ISSUES TO BE RAISED IN THIS APPEAL. You
           must attempt to identify the issues even if you were not counsel below. See
           10th Cir. R. 3.4(B).

The issues to be addressed in the appeal include the following:
      1)    whether Plaintiff adequately alleged that Defendants violated her rights under
            the Fourteenth Amendment’s Equal Protection clause;
      2)    whether Plaintiff, as a transgender woman, is a member of a suspect, or quasi-
            suspect, class;
      3)    whether Brown v. Zavaras controls this case, is good law, and/or was wrongly
            decided;



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     4)     whether Defendants’ deliberate decision to disregard Plaintiff’s female gender
            identity, and instead treat her as a male inmate, was not substantially related to
            an important interest and violated the Equal Protection clause;
     5)      whether Defendants’ actions fail rational basis review;
     6)     whether the sexual harassment to which Plaintiff was subjected demonstrates
            that Defendants violated the Equal Protection clause;
     7)     whether Plaintiff adequately alleges that Defendants violated her substantive due
            process rights under the Fourteenth Amendment;
     8)     whether Defendants subjected Plaintiff to unconstitutional conditions of
            confinement through near-constant sexual harassment and unwanted cross-
            gender touching;
     9)     whether Defendant Mustapick subjected Plaintiff to unconstitutional conditions
            of confinement through the cross-gender visual body-cavity search he performed
            on her;
     10)    whether Defendants El Paso County, Elder, Gillespie, Noe, Ford, and O’Neal
            subjected Plaintiff to unconstitutional conditions of confinement by forcing her
            to endure repeated cross-gender pat-down searches;
     11)    whether Defendants El Paso County, Elder, Gillespie, Noe, Ford, and O’Neal
            violated Plaintiff’s rights under the United States and Colorado Constitutions by
            failing to protect her from assault;
     12)    whether Plaintiff adequately alleges that Defendants EL Paso County, Elder,
            Gillespie, Mustapick, and Elliss subjected her to multiple unlawful searches
            under the Fourth Amendment;
     13)    whether Defendants El Paso County, Elder, Gillespie, Mustapick, and Elliss
            violated Plaintiff’s rights under the Fourteenth Amendment by unconstitutionally
            invading her right to privacy and bodily integrity;
     14)    whether Defendant Elliss failed to intervene to prevent the violation of Plaintiff’s
            Fourth and Fourteenth Amendment rights;
     15)    whether Plaintiff adequately alleges municipal liability against El Paso County
     16)    whether Plaintiff adequately alleges that Defendants intentionally discriminated
            against her in violation of the Americans with Disabilities Act and Rehabilitation
            Act and is therefore entitled to recover compensatory damages.


V.         ATTORNEY FILING DOCKETING STATEMENT:

           Name: Andy McNulty                        Telephone:    (303) 571-1000

           Firm:        Killmer Lane & Newman, LLP

           Email Address:      amcnulty@kln-law.com

           Address:     1543 Chanpa Street, Suite 400


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                 Denver, CO 80202



    /s/ Andy McNulty                                            May 10, 2023
    Signature                                            Date


NOTE:     The Docketing Statement must be filed with the Clerk via the court’s
          Electronic Case Filing System (ECF). Instructions and information
          regarding ECF can be found on the court’s website,
          www.ca10.uscourts.gov.
          The Docketing Statement must be accompanied by proof of service. The
          following Certificate of Service may be used.




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                         CERTIFICATE OF SERVICE

       I hereby certify that a copy of this DOCKETING STATEMENT was
served on May 10, 2023, via CM/ECF which will send notification of such filing to
the following:


Nathan Whitney
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                                            s/ Charlotte Bocquin Scull
                                            Paralegal




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